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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )               Criminal No. 21-0084 (PLF)
                                    )
CODY PAGE CARTER CONNELL and        )
DANIEL PAGE ADAMS,                  )
                                     )
            Defendants.             )
____________________________________)

                                            ORDER

              Upon consideration of the United States’ Motion to Dismiss Indictment with

Prejudice Pursuant to Federal Rule Criminal Procedure 48(a) [Dkt. No. 180], it is hereby

              ORDERED that the United States’ Motion to Dismiss Indictment with Prejudice

Pursuant to Federal Rule Criminal Procedure 48(a) [Dkt. No. 180] as to defendant Cody Page

Carter Connell is DENIED without prejudice for lack of jurisdiction in light of the pending

appeal before the United States Court of Appeals for the District of Columbia Circuit. See

United States v. Cody Carter Connell, USCA Case No. 24-3180; and it is
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              FURTHER ORDERED that the United States’ Motion to Dismiss Indictment with

Prejudice Pursuant to Federal Rule Criminal Procedure 48(a) [Dkt. No. 180] as to defendant

Daniel Page Adams is DENIED as moot in light of the fact that the Court has no role in the

pardon process post-conviction.

              SO ORDERED.
                                                                        Date:
                                                                        2025.01.22
                                                                        15:38:37 -05'00'
                                                           ___________________________
                                                           PAUL L. FRIEDMAN
                                                           United States District Judge

DATE: January 22, 2025




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